           Case 3:15-cv-01074-VLB Document 368 Filed 01/17/18 Page 1 of 9



                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT

     RUSS MCCULLOUGH, RYAN
     SAKODA, and MATTHEW ROBERT                 :
     WIESE,                                     :
     individually and on behalf of all          :
     others similarly situated,                 :
                                                :
              Plaintiffs,                       :   CIVIL ACTION NO.
                                                :   3:15-cv-001074 (VLB)
     v.                                         :   Lead Case
                                                :
     WORLD WRESTLING                            :
     ENTERTAINMENT, INC.,                       :
                                                :
              Defendant.                        :

                                                :
     JOSEPH M. LAURINAITIS, et al.,             :
                                                :
              Plaintiffs,                       :
                                                :
                                                    CIVIL ACTION NO.
     v.                                         :
                                                    3:16-CV-01209 (VLB)
                                                :
                                                    Consolidated Case
     WORLD WRESTLING                            :
     ENTERTAINMENT, INC. et al.,                :
                                                :
              Defendants.                       :
                                                :

                  MOTION TO DEEM DEFENDANT WORLD WRESTLING
                   ENTERTAINMENT, INC.’S STATEMENTS ADMITTED

I.        INTRODUCTION

          On September 20, 2017, Plaintiffs served World Wrestling Entertainment, Inc.

(“WWE”) with Requests for Admission (“Plaintiffs’ RFAs”) which requested

responses to fifty specific statements. See Plaintiffs’ RFAs, Exhibit A. Defendants

provided a non-responsive Answer (“Answer”) on October 20, 2017 which relied

on one generalized objection for all fifty statements. See Answer, Exhibit B. The

Defendants failed to deny any of the fifty statements as they are required to under

                                            1
        Case 3:15-cv-01074-VLB Document 368 Filed 01/17/18 Page 2 of 9



the Rule if in fact they deny any of the Plaintiffs’ RFAs. Since avoidance is not a

denial, the Rules are clear that each statement must be deemed admitted.

II.   WWE WAS REQUIRED TO RESPOND TO PLAINTIFFS’ RFAS

      Requests for Admission are not “discovery” devices under the federal rules.

In this District, Requests for Admission are devices designed to limit the scope of

discovery by framing the issues of a case through the removal of undisputed facts

from argumentative discourse. See Concerned Citizens v. Belle Haven Club, 223

FRD 39, 44 (D. Conn. 2004); T. Rowe Price Small-Cap Fund v. Oppenheimer & Co.,

174 FRD 38, 42-43 (S.D.N.Y. 1997) (noting that Rule 36 is not a discovery device,

but is designed to reduce the costs of litigation by eliminating the necessity of

proving facts that are not in substantial dispute, to narrow the scope of disputed

issues, and to facilitate the presentation of cases to the trier of fact); Nekrasoff v.

U.S. Rubber Co., 27 F. Supp. 953 (D.N.Y. 1939) (ruling a party may simultaneously

examine his adversary before trial and require him to respond to a request for

admission concerning the same matters, thereby providing precedent for

admissions to run on an alternative track from discovery).

      Plaintiffs’ RFAs were properly served on WWE as requests for admission

and therefore have no relation to discovery scheduling orders. McLaughlin v.

Dracket Products Co., 20 Fed. R. Serv. 2d 1081 (D. Mass. 1975) (ruling that the fact

that notice to admit facts was filed several months after ruling that no discovery

would be allowed does not excuse a party from responding to request for

admission of facts because valuable trial time will be saved and because notice to

admit facts is not discovery).     Plaintiffs have already engaged in a Rule 26



                                          2
           Case 3:15-cv-01074-VLB Document 368 Filed 01/17/18 Page 3 of 9



conference and a stay of discovery has not issued. WWE is bound by the Rules of

Civil Procedure, and has ignored the Rules at its peril.         WWE’s one general

objection is not a denial. 5 C. Wright & A. Miller, Federal Practice and Procedure, §

1278, pp. 644-645 (3d. Ed. 2004) (dictating that an affirmative defense, once

forfeited, is excluded from the case).

III.     THE STATEMENTS SHOULD BE DEEMED ADMITTED

       A. WWE’s One General Objection.

         The Defendants rely solely on the “objection” that they have no

responsibility to respond to Plaintiffs’ RFAs because there is no operative

complaint, or as Rule 36 states, a pending action. See Fed. R. Civ. P. 36(a) (“…for

purposes of the pending action only, the truth of any matters within the scope of

Rule 26(b)(1)…) (emphasis added). However, this is factually and procedurally

inaccurate as the Court specifically did not make a substantive ruling on Plaintiffs’

First Amended Complaint and Plaintiffs’ actions are still pending. 9.29 Order, at 18,

n.1 (noting “…the Court defers judgment on whether such allegations are legally

sufficient to permit the cases of wrestlers who retired before 2005 to proceed”).

         In fact, every single one of Defendants’ cited cases rely on the fact that the

complaint had been previously dismissed or terminated or the action concluded.

Frigerio v. United States, No. 10-cv-9086, 2011 U.S. Dist. LEXIS 87470 (S.D.N.Y. Aug.

5, 2011) (dismissed complaint prior to discovery ruling); In re Flash Memory

Antitrust Litig., No. 07-cv-0086, 2007 U.S. Dist. LEXIS 95869 (N.D. Cal., Dec. 24,

2007) (discovery denied where the consolidated class case lacked a filed

consolidated complaint and the individual complaints had been dismissed); Gifford



                                            3
         Case 3:15-cv-01074-VLB Document 368 Filed 01/17/18 Page 4 of 9



v. Puckett, No. 2:16-cv-00955, 2017 U.S. Dist. LEXIS 53887 (E.D. Cal., Apr. 6, 2017)

(dismissed amended complaint with opportunity to file amended complaint);

Hardwick v. Senato,1 No. 15-326, 2016 U.S. Dist. LEXIS 105947 (D. Del., Aug. 11,

2016) (motion to dismiss granted in part and opportunity to file altered amended

pleadings); Banks v. Rodgers, No. 3:14-cv-65, 2015 U.S. Dist. LEXIS 21851 (M.D.

Fla., Feb. 20, 2015) (dismissed complaint left no operative pleadings); Mather v.

First Hawaiian Bank, No. 14-00091, 2014 U.S. Dist. LEXIS 117140 (D. Hi., Aug. 22,

2014) (summary judgment ruling and formal conclusion of case removed parties

ability to file an amended complaint due to res judicata and the Feldman doctrine,

thereby precluding discovery); Ballard v. People R Us Boarding Home, No. 10-5334,

2014 U.S. Dist. LEXIS 56236 (E.D. Pa., Apr. 22, 2014) (pertaining in no way to

admissions or discovery but goes to Defendants’ wishful thinking that the Court

will at some future point dismiss Plaintiffs’ case); Garcia v. IRS, No. 12-cv-01824,

2013 U.S. Dist. LEXIS 98438 (D. Col., Mar. 22, 2013) (substantive judgment against

the complaint by striking the first amended complaint); Moon v. Junious, No. 1:12-

cv-00096, 2012 U.S. Dist. LEXIS 154273 (E.D. Cal., Oct. 26, 2012) (second amended

complaint dismissed prior to request for discovery); Dietrich v. Wis. Dep’t of Corr.,

No. 11-cv-0352, 2011 U.S. Dist. LEXIS 140484, at *6 (E.D. Wis. Dec. 6, 2011)

(dismissed complaint prior to discovery ruling).

       The primary case the Defendants rely on is In re Flash Memory Antitrust

Litig., No. 07-cv-0086, at *27-28.          This case is clearly distinguishable from



1
 Additionally distinguishable, Hardwick had an active stay of discovery, where here the Court
denied Defendants’ request to stay discovery in Laurinaitis and the previous Stay was ruled to not
apply to the Laurinaitis Plaintiffs by Judge Richardson.

                                                4
        Case 3:15-cv-01074-VLB Document 368 Filed 01/17/18 Page 5 of 9



Laurinaitis because in In re Flash Memory, the court determined discovery was not

timely because the case had just been consolidated, the individual cases had been

terminated, and the plaintiffs had yet to file an amended consolidated case in the

newly formed action. For these reasons, the court determined that no operative

complaint existed which is very different from the Laurinaitis case where the

Plaintiffs’ First Amended Complaint was specifically not dismissed in the Court’s

9.29 Order. 9.29 Order, p. 18, n.1 (delaying merit-based rulings). The Plaintiffs’

operative complaint was actively pending when the Defendants received Plaintiffs’

RFAs and remained active throughout the Defendants’ thirty-day responsibility to

adequately respond.

   B. WWE Failed to Deny Plaintiffs’ RFAs.

      It was at the WWE’s peril that it chose not to deny Plaintiffs’ RFAs, if a denial

would square with the facts. See Young v. Leon, 2015 U.S. Dist. LEXIS 70771, 3:14-

cv-01337 (CSH), *7-8 (D. Conn., June 2, 2015), quoting Cohalan v. Genie Indus., Inc.,

276 F.R.D. 161, 163 (S.D.N.Y. 2011) (establishing a “failure to respond or object to

a discovery request in a timely manner waives any objection which may have been

available”). WWE failed to timely deny the Plaintiffs’ RFAs, and is now bound by

the results of that choice.

      WWE did not object to the Plaintiffs’ RFAs being set forth “simply, directly,

not vaguely or ambiguously, and in such a manner that they can be answered with

a simple admit or deny without an explanation, and in certain instances, permit a

qualification or explanation for purposes of clarification”. Henry v. Champlain

Enters., 212 FRD 73, 77 (N.D.N.Y., 2003); see Booth Oil Site Admin. Group v. Safety-


                                          5
        Case 3:15-cv-01074-VLB Document 368 Filed 01/17/18 Page 6 of 9



Kleen Corp., 194 FRD 76, 79 (WDNY 2000); Diederich v. Department of the Army,

132 FRD 614, 619 (SDNY 199); T. Rowe Price v. Small-Cap Fund v. Oppenheimer &

Co., 174 FRD at 42. WWE’s denial was not “forthright, specific and unconditional”.

Booth Oil Site Admin. Group., 194 FRD at 80; Rule 36(a). In fact, it is entirely absent.

Its interposed objection was not directed at and specifically related to a particular

request. Henry v. Champlain Enters., 212 FRD at 78. “General objections without

any reference to a specific request to admit are meritless.” Id., (quoting Diedrich v.

Dept. of the Army, 132 FRD at 616). WWE’s generalized objection, therefore, is

meritless. Id.

       There is no evidence that WWE made a “reasonable inquiry, a reasonable

effort, to secure information that is readily available from persons and documents

within the responding party’s relative control”. Concerned Citizens v. Belle Haven

Club, 223 FRD 39, 44 (D. Conn. 2004), quoting Henry v. Champlain Enters., 212

F.R.D. 73, 78 (N.D.N.Y., 2003); see also Moore’s Fed. Pract., p. 36.11[5][d]. Instead,

the one general objection was premised on a skewed vision of this case’s

procedural history with no legal basis. WWE’s Answer was knowingly inadequate

and was only intended to further stonewall Plaintiffs’ abilities to seek redress for

their injuries. WWE could have made any objection, then proceeded to deny the

RFP’s if appropriate. Of course, it is Plaintiffs’ contention that there can be no good

faith denial.

IV.    CONCLUSION

       For the reasons stated above the RFP’s should be deemed as admitted.




                                           6
       Case 3:15-cv-01074-VLB Document 368 Filed 01/17/18 Page 7 of 9




Dated: January 17, 2018.

                                         Respectfully submitted,

                                         /s/ Konstantine W. Kyros____
                                         Konstantine W. Kyros, Esq.
                                         Bar No. ct30132
                                         KYROS LAW OFFICES
                                         17 Miles Road
                                         Hingham, MA 02043
                                         Telephone: (800) 934-2921
                                         Facsimile: 617-583-1905
                                         kon@kyroslaw.com

                                         Anthony M. Norris, Esq.
                                         KYROS LAW OFFICES
                                         17 Miles Road
                                         Hingham, Massachusetts 02043
                                         Telephone: (603) 995-1792
                                         Facsimile: (617) 583-1905
                                         anorris@kyroslaw.com

                                         S. James Boumil, Esq.
                                         BOUMIL LAW OFFICES
                                         120 Fairmount Street
                                         Lowell, Massachusetts 01852
                                         Telephone: (978) 458-0507
                                         SJBoumil@Boumil-Law.com

                                         Brenden P. Leydon, Esq.
                                         TOOHER WOCL & LEYDON LLC
                                         80 4th Street
                                         Stamford, Connecticut 06905
                                         Telephone: (203) 517-0456
                                         Facsimile: 203-324-1407
                                         BLeydon@tooherwocl.com

                                         Erica C. Mirabella, Esq.
                                         MIRABELLA LAW LLC
                                         132 Boylston Street, 5th Floor
                                         Boston, Massachusetts 02116
                                         Telephone: (617) 580-8270
                                         Facsimile: (617) 583-1905
                                         erica@mirabellaLLC.com

                                     7
Case 3:15-cv-01074-VLB Document 368 Filed 01/17/18 Page 8 of 9




                                  R. Christopher Gilreath, Esq.
                                  GILREATH & ASSOCIATES
                                  200 Jefferson Avenue, Suite 711
                                  Memphis, Tennessee 38103
                                  Telephone: (901) 527-0511
                                  Facsimile: (901) 527-0514
                                  chrisgil@sidgilreath.com

                                  Counsel for Plaintiffs.




                              8
       Case 3:15-cv-01074-VLB Document 368 Filed 01/17/18 Page 9 of 9



                            CERTIFICATE OF SERVICE

     I hereby certify that on this 17th day of January, 2018, a copy of the foregoing
Request to Deem Admitted was served via this Court’s electronic case filing
system.

                                       /s/ Konstantine W. Kyros
                                       Konstantine W. Kyros




                                         9
